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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF OKLAHOMA

SAMUEL D. EDWARDS,                    )
                                      )
                  Plaintiff,          )
                                      )
v.                                    )   Case No. CIV-04-096-KEW
                                      )
PEPSICO, INC., a North                )
Carolina corporation;                 )
PEPSI-COLA COMPANY, a North           )
Carolina corporation;                 )
CONOPCO, INC. d/b/a                   )
THOMAS J. LIPTON COMPANY,             )
a Virginia corporation;               )
WM. W. MEYER & SONS, INC.,            )
an Illinois corporation;              )
B.W. SINCLAIR, INC., a Texas          )
corporation; LOCKWOOD GREENE          )
ENGINEERS, INC., a foreign            )
corporation; and JANE DOE,            )
a foreign resident,                   )
                                      )
                  Defendants.         )

                                  O R D E R


        This matter comes before the Court on the Motion for Attorney

Fees filed by Holden & Carr on July 2, 20121 (Docket Entry #519).

The issue of the distribution of the accrued attorney’s fees in

this case between the law firms of Holden & Carr and Capron &

Edwards was remanded to this Court by virtue of the decision of the

Tenth Circuit Court of Appeals entered by that court on May 20,

2009.      The subject Motion was filed to facilitate the Court’s

ability to address the issue upon remand.


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        The document filed by Holden & Carr is actually entitled “Brief
on Behalf of Holden & Carr Concerning Attorney Fees.” However the Brief
was filed as a Motion and considered as such throughout these
proceedings.
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        On September 23, 2013, this Court began an evidentiary hearing

on the pending request for attorney’s fees with counsel for Holden

& Carr and for Capron & Edwards present.           Upon resumption of the

hearing on September 24, 2013, counsel for both law firms announced

that a resolution to the pending Motion and the distribution of the

fees had been reached.        As a result, the Motion and the issue it

addresses is deemed resolved and no further hearing is necessary.

        IT IS THEREFORE ORDERED that the Motion for Attorney Fees

filed by Holden & Carr on July 2, 2012 (Docket Entry #519) as well

as the issues addressed in the remand order of the Tenth Circuit

Court    of   Appeals   are   deemed   RESOLVED.     This   Court   retains

jurisdiction over this matter until OCTOBER 24, 2013 for the

purpose of enforcing the settlement and addressing any issues

related to attorney’s fees and costs only.         Thereafter, the matter

is concluded.

        IT IS SO ORDERED this 25th day of September, 2013.



                                   ______________________________
                                   KIMBERLY E. WEST
                                   UNITED STATES MAGISTRATE JUDGE




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